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                     Case No. 20-71765 (L)
      (consolidated with Case Nos. 20-72734 and 20-72749)


        IN THE UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT
                     ________________

              LEAGUE OF CALIFORNIA CITIES, et al.,
                                    Petitioners,

                                       v

        FEDERAL COMMUNICATIONS COMMISSION and
              UNITED STATES OF AMERICA,
                                   Respondents,
                    ________________

         ON PETITION FOR REVIEW FROM AN ORDER
      OF THE FEDERAL COMMUNICATIONS COMMISSION
                     ________________

 REPLY BRIEF OF PETITIONERS LEAGUE OF CALIFORNIA
 CITIES, et al., PETITIONERS CITY OF SEATTLE, et al., AND
     INTERVENORS CITY OF THOUSAND OAKS, et al.
                        ________________

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No. 20-72734

March 31, 2023
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             CORPORATE DISCLOSURE STATEMENT

     Pursuant to Federal Rule of Appellate Procedure 26.1, Petitioners

respectfully submit the following corporate disclosure statements:

     Petitioners the League of Oregon Cities; City of Beaverton,

Oregon; City of Carlsbad, California; City of Cerritos, California; City of

Concord, California; City of Coronado, California; City of Encinitas,

California; City of Glendora, California; City of Hermiston, Oregon; City

of Napa, California; City of Pleasanton, California; City of Rancho Palos

Verdes, California; City of Richmond, California; City of San Marcos,

California; City of San Ramon, California; City of Santa Cruz,

California; City of Seattle, Washington; City of Solana Beach,

California; City of South Lake Tahoe, California; City of Torrance,

California; City of Tumwater, Washington; and Town of Danville,

California, are each a governmental agency and therefore exempt from

Rule 26.1.

     Petitioner the League of California Cities is a nonprofit

corporation that does not issue stock, has no parent corporation and is

not owned in any part by any publicly held corporation.




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     Petitioner Colorado Communications and Utility Alliance

(“CCUA”) is a nonprofit corporation that does not issue stock, has no

parent corporation and is not owned in any part by any publicly held

corporation. CCUA is the Colorado chapter of the National Association

of Telecommunications Officers and Advisors, and an affiliate of the

Colorado Municipal League.

     Intervenors City of Thousand Oaks, California; City of Coconut

Creek, Florida; and Town of Breckenridge, Colorado, are each a

governmental agency and therefore exempt from Rule 26.1.

TELECOM LAW FIRM, PC                       KISSINGER & FELLMAN, PC

s/ Robert C. May III_____________ s/ Kenneth S. Fellman___________
Robert C. May III                 Kenneth S. Fellman

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certain Intervenors in No. 20-             71765, and certain Petitioners in
71765, and certain Petitioners in          No. 20-72734
No. 20-72734




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                   SUMMARY OF THE ARGUMENT

      After the In the Matter of Implementation of State and Local

Governments’ Obligation to Approve Certain Wireless Facility

Modification Requests Under Section 6409(a) of the Spectrum Act of

2012, Declaratory Ruling, WT Docket No. 19-250, 35 FCC Rcd. 5977

(Jun. 10, 2020) (“Ruling”), legislative rules in Section 1.6100 (the

“Rules”) no longer mean what they say. For example:

   The Rules commence the shot clock when an application is filed,

     but the Ruling triggers the same limitations period after a “good-

     faith attempt” to submit “written documentation” that requests

     approval.

   The Rules protect all “concealment elements” but the Ruling

     denies those protections unless express evidence from the original

     approval shows the facility was designed to look like something

     other than a wireless facility.

   The Rules cap additional equipment cabinets at four per

     modification, but the Ruling abrogates the limit by excluding

     equipment housed in “small” boxes.



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     Agencies can change legislative rules by notice-and-comment

rulemaking or use interpretive rules to clarify genuine ambiguities but

cannot fundamentally alter legislative rules by adjudication. See 5

U.S.C. § 553; Perez v. Mortgage Bankers Ass’n, 575 U.S. 92, 101 (2015).

Petitioners showed in its principal brief that the Ruling failed to follow

the prescribed procedure. Brief of Petitioners League of Calif. Cities, et

al. (“LOCC”) at 30-40. Despite the Commission’s attempt to color its

procedural error as harmless, the Ruling’s unreasonable interpretations

earn no deference and should be invalidated as arbitrary and

capricious.

     First, the Commission’s reliance on judicial deference is

misplaced. No deference is due because the Commission’s

reinterpretations far exceed what the alleged ambiguities in Section

1.6100 (if any) might reasonably allow. Kisor v. Wilkie, 139 S. Ct. 2400,

2415-16 (2019). Caselaw examples cited by the Commission are

inapposite and instead contrast with the Ruling to illustrate its

unreasonable departure from the Rules’ plain text and framework.

     Second, the Commission fails to offer a rational explanation for

the reinterpretations. Justifications ignore express language in the


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Rules, misapply interpretive cannons and related case law, exaggerate

or overlook alternative interpretations offered by Petitioners’ comments

in the record and reveal a lack of subject-matter expertise. Accordingly,

whether the procedural infirmities amount to harmless error or not,

this Court should afford no deference to the Commission and invalidate

the Ruling as arbitrary and capricious.

     Finally, this Court should reject the Commission’s argument that

its statements in a brief to defend the Rules against petitions for

judicial review do not matter. No case law supports this double

standard. Agencies, like their rules, should mean what they say.

     This Court should grant the petitions for review.




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                                    ARGUMENT

I.        THE UNREASONABLE CHANGES TO LEGISLATIVE RULES THROUGH
          INTERPRETIVE ADJUDICATION DESERVE NO DEFERENCE AND
          VIOLATE THE APA’S PROCEDURAL AND SUBSTANTIVE LIMITS

          Reinterpretations in the Ruling turn legislative rules upside

down, effectively amend the codified regulations, and deserve no

deference. See Kisor v. Wilkie, 139 S. Ct. 2400, 2415-2416 (2019).

Although the Commission and its industry intervenor allies point to a

pseudo notice-and-comment procedure and argue no-harm-no-foul, Brief

of Respondents Fed. Commc’ns Comm’n, et al. (“FCC”) at 28-33, Brief of

CTIA, et al., (“CTIA”) at 54-60, these drastic changes are not supported

by the plain text of the Rules they purport to clarify or the record.

     A.     Reinterpretations Fall Well Outside Any Ambiguities in
            the Shot Clock Rules and Protections for Concealment
            Elements

          No deference is due when an agency’s interpretation exceeds what

the ambiguity in the agency’s regulation allows. See Kisor, 139 S. Ct. at

2415-2416 (2019). Ambiguities in 47 C.F.R. § 1.6100 (if any) would allow

for only narrow elaborations and preclude the Ruling’s abrogation of

local authority over the application process and protected concealment

elements adopted by the Commission.


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        1.    The Ruling Adopts Interpretations Foreclosed by
              the Shot Clock Rules’ Plain Language and Overall
              Framework

     With respect to the shot clock Rules, the Ruling steps outside the

lines twice: first, by allowing applicants to submit “written

documentation” rather than an application; and second, by substituting

a “duly filed” application with a “good-faith attempt” to submit.

     The plain text, regulatory framework and manifest intent related

to the shot clock Rules unambiguously show that the timeline for action

commences “when the application is filed”. 47 C.F.R. § 1.6100(c)(3)

(emphasis added).1 The Commission’s completeness-review rules

further acknowledge that local governments define the “application”

and its contents. See 47 C.F.R. § 1.6100(c)(1) (acknowledging local

authority to require an application); id. § 1.6100(c)(3) (tolling the shot

clock when the “local government determines that the application is

incomplete”); In the Matter of Acceleration of Broadband Deployment by

Improving Wireless Facilities Siting Policies, Report and Order, WT

Docket No. 13-238, 29 FCC Rcd. 12865, ¶ 261 (Oct. 17, 2014) (“2014


1The shot clock Rules implement the statutory requirement that
municipalities act within a reasonable time after a request for
authorization is “duly filed”. 47 U.S.C. § 332(c)(7)(B)(ii).
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Order”) (acknowledging that “local governments are best suited to

decide what information they need to process an application”). Taken

together, the shot clock Rules provide a straightforward framework:

local authorities can develop and require applications and must act on

them within specified timeframes after it receives a duly filed

application.

     Here, the Ruling adopts interpretations foreclosed by the shot

clock Rules. Whereas the codified Rules preserve local authority to

define the application and its contents, the Ruling allows applicants to

submit “written documentation” instead. Whereas the statute and

codified Rules require a duly filed application, the Ruling requires only

a good-faith attempt to submit the written documentation. Although

applications and filing procedures differ among municipalities, such

variation does not expand any ambiguities to reasonably allow

applicants to commandeer the form and manner in which it files

applications.

        2.      Attempts to Cabin Concealment Elements
                Contravene the Plain Language in the Rules

     Similar conflicts appear in connection with the Ruling’s efforts to

curtail protections for concealment elements. For example, the
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Commission’s argument that the Rules do not protect concealment “in

general” but only concealment elements “of the eligible support

structure” is not just inconsistent with Section 1.6100(b) but also

hopelessly circular. See FCC at 59 (emphasis in original). According to

the Commission, mere placement techniques (such as setback

requirements) are not elements of the structure that the Rules protect.

See FCC at 59. This rationale does not appear in the Ruling and should

be rejected as a post-hoc rationalization. See SEC v. Chenery, 332 U.S.

194, 196 (1947). Even if the Commission had invoked this basis in the

Ruling, the Commission’s distinction cannot withstand even modest

scrutiny because placement techniques for the structure and equipment

are quite naturally and literally elements of the tower or base station.

     Only two limitations on “concealment elements” appear in the

plain text of the regulation and the 2014 Order: the concealment

elements must be “existing” and “of the eligible support structure”. See

47 C.F.R. § 1.6100(b)(7)(v); 2014 Order at ¶ 188 (providing that a

modification is substantial “if it would defeat the existing concealment

elements of the tower or base station.”) (emphasis added). The Rules

broadly define an “eligible support structure” to include the structure


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and, in some cases, the equipment associated with the structure. See 47

C.F.R. §§ 1.6100(b)(1), (4) (including “radio transceivers, antennas,

coaxial or fiber-optic cable, regular and backup power supplies, and

comparable equipment” at base stations in the definition). Thus, the

Rules protect any existing concealment element associated with any

existing tower or base station, including the structure and equipment.

     The following examples illustrate how placement techniques

qualify as concealment elements of the structure or equipment:

   Requirements to setback or lower antennas on a rooftop so that

     they cannot be seen from ground level, see, e.g., 2-ER-236, is a

     concealment element “of the eligible support structure” because it

     is a restriction of the base station and its equipment that renders it

     effectively invisible from a common viewpoint.

   A setback requirement to hide a tower from view would be a

     concealment element “of the eligible support structure” because it

     is a setback of the tower from a given location.

In each example, the placement requirement is a concealment element

of the eligible support structure because placement is inextricably

linked to the structure or equipment to be concealed from view.


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Accordingly, the Commission’s interpretation excludes concealment

elements that the Rules expressly include.2

    B.     Cases Cited by the Commission as Support for
           Interpretive Authority Illustrate the Unreasonable
           Departures from the Legislative Rules in Section 1.6100

         Although the Commission offers up examples where courts

affirmed agency interpretations for its own rules, those cases bear little

factual resemblance to the Ruling. Both Gunderson v. Hood, 268 F.3d

1149 (9th Cir. 2001), and Lane v. Salazar, 911 F.3d 942 (9th Cir. 2018),

involve informal interpretations from adjudications to resolve disputes

over how the Bureau of Prisons applies its own regulations. See

Gunderson, 268 F.3d at 1152-53; Lane, 911 F.3d at 949. Moreover,

interpretations in both those cases fell neatly within reasonable

boundaries established by their respective legislative rules: Gunderson


2 The Commission also claims that Petitioners’ construction conflicts
with the statute. See FCC at 61. This argument fails for the reasons
stated above because the statutory text excludes modifications that
“substantially change the physical dimensions of such tower or base
station” and the Commission’s definition for an “eligible support
structure” merely encapsulates both towers and base stations. Compare
47 U.S.C. § 1455(a)(1), with 47 C.F.R. § 1.6100(b)(4). Moreover, the
Commission previously acknowledged that Congress did not intend to
undermine local concealment elements and conditions of approval
“whether or not they affect the physical dimensions of the wireless
tower or base station.” See 2014 Order at ¶ 200 n.543.
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interpreted ammunition (which contains explosive gunpowder) as an

“explosive” that paroled felons cannot possess, and Lane interpreted a

prisoner’s letter to a prosecutor that expressed a desire to cause

physical harm or death a punishable threat even if the prisoner lacked

intent or ability to carry out the threats. See Gunderson, 268 F.3d at

1154-55; Lane, 911 F.3d at 949. Any reasonable person could

comprehend that gunpowder explodes and an expressed potential for

violence threatens.

     In contrast, the Ruling turns the Rules inside out. To list a few:

(1) shot clocks that commence after the “application is filed” can now

start without filing an application through the appropriate procedure;

(2) facilities intentionally designed to be effectively invisible and avoid

detection are not “stealth” and therefore applicants may modify them to

be readily detected; and (3) boxes that contain technological components

count as “equipment cabinets”, unless the box that contains functionally

equivalent components is “small”. Whereas the interpretations in

Gunderson and Lane reasonably elaborate on a legislative rule, the

Ruling contradicts and abrogates the Rules it purports to clarify.




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      No one would dispute that the Commission may reasonably

interpret ambiguities in its own rules. However, as the Supreme Court

made clear, interpretive authority goes only as far as the ambiguities

allow and any interpretations that stray too far receive no deference.

See Kisor, 139 S. Ct. at 2415-2416. This is such a case, and this Court

should not afford deference to the Ruling’s interpretations.

II.   THE PLAIN LANGUAGE OF THE SHOT CLOCK RULES IS CLEAR AND
      PROSCRIBES THE COMMISSION’S INTERPRETATION

      The well-settled rules of statutory construction apply equally to

agency regulations as they do legislation. See id. at 2415-2418. A court

must first look to its plain language and give each word its ordinary and

customary meaning. Id. “As with legislation, [a court must] presume the

drafters said what they meant and meant what they said.” United

States v. Bucher, 375 F.3d 929, 932 (9th Cir. 2004) (quoting Connecticut

Nat’l Bank v. Germain, 503 U.S. 249, 253-54 (1992)). If the regulation is

unambiguous, its plain meaning controls unless such reading would

lead to absurd results. Id.; Safe Air for Everyone v. United States EPA,

488 F.3d 1088, 1097 (9th Cir. 2007) (“[a]s a general interpretative

principle, the plain meaning of a regulation governs.”).



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  A.     Any Interpretation that Would Commence the Shot
         Clock Without a Filed Application Is Inapposite to the
         Plain Language in the Rules and Violates the Canons of
         Construction

       The Commission argues that it properly interpreted the phrase

“submits a request” in 47 C.F.R. § 1.6100(c)(2) in tandem with the term

“file an application” in 47 C.F.R. § 1.6100(c)(3). FCC at 36. But the

argument that the terms are open to reasonable interpretation because

they are subject to more than one meaning is nothing more than a post-

Ruling allegation without any legal or factual basis. FCC at 34. The

Commission states that the phrases “submits a request” and “file an

application” may be properly interpreted as requiring only a “written

request” that may or may not include the information needed to

properly evaluate the request otherwise required by local codes and

regulations. Id. The Commission, however, ignores the plain and

customary language used in 47 C.F.R. § 1.6100(c)(3) to justify its

improper “clarification” of the language in 47 C.F.R. § 1.6100(c)(2).

       The Commission fails to recognize that the meaning of “when the

application is filed” in Section 1.6100(c)(3) is plain on its face, and that

there is thus no authority to interpret “submits a request” in Section

1.6100(c)(2) in a way that could commence the shot clock without a filed
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application. In this context, an “application” cannot consist of nebulous

“written documentation.” See Ruling at ¶ 16 (1-ER-13). Oftentimes the

formal request will be on a governmental form that identifies key

information needed to open the application, collect fees and process the

request to a final decision. 2-ER-262-64. Filing an application is the

formal submission of the request for authorization through properly-

defined channels (such as on a day that the agency is open and not on a

government holiday).

     Filing an application could not reasonably refer to something else.

The Commission need look no further than its own procedures for the

various authorizations it approves or denies to confirm that “file an

application” means exactly what it says.3


3See 47 C.F.R. § 1.746(a) (authorizing the Commission to reject
“defective” applications); id. § 1.1114(a)(1) (authorizing the Commission
to dismiss an application if submitted without the appropriate fee); see
also FCC, FORM NO. 44: APPLICATION FOR CERTIFICATION AS AN
ACCOUNTING AUTHORITY (ed. July 2008),
https://transition.fcc.gov/Forms/Form44/44.pdf (“No application can be
granted unless all information requested is provided . . . [f]ailure to
provide all requested information will delay the processing of the
application or result in the application being returned without action.”);
FCC, FORM NO. 301: APPLICATION FOR CONSTRUCTION PERMIT FOR
COMMERCIAL BROADCAST STATION (ed. June 2018),
https://transition.fcc.gov/Forms/Form301/301.pdf; FCC, FORM NO. 301-
CA: APPLICATION FOR AUTHORITY TO MAKE CHANGES IN A CLASS A
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     Even if a “filed application” did not have an obvious and

customary meaning as used by government agencies nationwide

(including the Commission) and as explained in the record, FER-6, this

Court should reject the Commission’s interpretation of Section

1.6100(c)(2) as arbitrary and capricious because it violates the rule

against surplusage. Interpretations should “give effect, if possible, to

every clause and word of a statute, avoiding, if it may be, any

construction which implies that the legislature was ignorant of the

meaning of the language it employed.” Montclair v. Ramsdell, 107 U.S.

147, 152 (1883); Hibbs v. Winn, 542 U.S. 88, 101 (2004) (“A statute




TELEVISION BROADCAST STATION (ed. Aug. 2011),
https://transition.fcc.gov/Forms/Form301-CA/301ca.pdf; FCC, FORM NO.
302-FM: APPLICATION FOR FM BROADCAST STATION LICENSE (ed. June
2002), https://transition.fcc.gov/Forms/Form302-FM/302fmjune02.pdf;
FCC, FORM NO. 302-DTV: APPLICATION FOR DIGITAL TELEVISION
BROADCAST STATION LICENSE (ed. Jan. 2008),
https://transition.fcc.gov/Forms/Form302-DTV/302dtv.pdf; FCC, FORM
NO. 315: APPLICATION FOR CONSENT TO TRANSFER CONTROL OF
CORPORATION HOLDING BROADCAST STATION CONSTRUCTION PERMIT OR
LICENSE (ed. Sep. 2020),
https://transition.fcc.gov/Forms/Form315/315.pdf (“[a]pplicants should
provide all information requested by this application . . . . Defective or
incomplete applications will be returned without
consideration.” (emphasis in original)).
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should be construed so that effect is given to all its provisions, so that

no part will be inoperative or superfluous, void or insignificant . . . .”).

      Here, adopting the Commission’s interpretation of “submits a

request” in Section 1.6100(c)(2) would render superfluous the directive

in Section 1.6100(c)(3) that filing an application commences the shot

clock. The Commission’s new rule that a good-faith attempt to submit

any written documentation that alleges a proposed modification is an

eligible facilities request (“EFR”) establishes a new obligation for local

agencies to act on purported applications that bears no relationship to

the kinds of forms that would be recognized as an application that

requires processing.

      The Commission’s interpretation for Section 1.6100(c)(2) only

makes sense if Section 1.6100(c)(3) is ignored or if the drafters are

assumed to not know what a “filed application” meant in the permitting

context. Both predicates contravene proper statutory and regulatory

construction. See Montclair, 107 U.S. at 152. Likewise, the

Commission’s argument implies that Congress, whose members often

previously served in local governments, shared the same ignorance

when it commenced the timeframe for local review upon a “duly filed”


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request for authorization. See 47 U.S.C. § 332(c)(7)(B)(ii). Throughout

the Telecommunications Act of 1996 (the “Act”), Congress references an

“application” and addresses application completeness issues numerous

times.4 Included among those references is 47 U.S.C. § 332(c)(7)(B)(ii),

which provides the statutory basis for the shot clock rules and requires

local authorities to act within a reasonable time after a request for

authorization to place, construct or modify a wireless facility is “duly

filed”. Both the Commission and judicial precedent universally

recognize that the “request” for authorization means an application to

local authorities and the “reasonable time” commences when the

application is filed. See In the Matter of Petition for Declaratory Ruling

to Clarify Provisions of Section 332(c)(7)(B), Declaratory Ruling, WT

Docket No. 08-165, 24 FCC Rcd. 13994, ¶ 32 (Nov. 9, 2009); see also T-

Mobile S., LLC v. City of Roswell, 574 U.S. 293, 304-05 (2015). Congress

is presumed to be fully aware of the customary meaning of the language




4 See, e.g., 47 U.S.C. § 549(c) (requiring the Commission to act within 90
days after “any application filed” for a waiver); id. § 271(d)(1)
(describing the nature and content of applications for authorization to
provide interLATA services); id. § 309(a)(1) (describing findings used to
evaluate broadcast station licenses after the licensee “submits an
application”).
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it codifies, including duly filed “requests” for authorization. Accordingly,

the Commission’s interpretation cannot be squared with the plain text

and overall regulatory framework.

  B.     The FCC Continues to Arbitrarily and Capriciously
         Ignore the Customary Interpretation Offered by
         Petitioners in the Record

       The Commission inaccurately criticizes Local Government

Petitioners for not offering an “alternative interpretation” of the term

“file an application” as it relates to shot clock Rules. Petitioners

demonstrated to the FCC the following customary definition in initial

comments filed in the administrative proceedings below:

            [T]he phrase “duly filed” literally means to
            properly initiate a judicial or administrative
            proceeding by submitting the proper documents or
            following proper procedure. Any interpretation to
            mean an event less than actual submittal through
            the proper local procedures would directly conflict
            with the statute.

       FER-6; see also Gordon v. Wells Fargo Bank, N.A. (In re Krieg),

951 F.3d 1299 (11th Cir. 2020) (“duly filed” means an application which

is clear from the face of the document that it is in the proper form

required by the authority). The Commission’s failure to consider and

respond to these specific comments in the record supports the


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Petitioners’ claims that the Commission’s “interpretations” of these

regulations are arbitrary and capricious. Motor Vehicle Mfrs. Ass'n of

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983); Ark.

v. Okla., 503 U.S. 91, 113 (1992); see also U.S. v. Nova Scotia Food

Products Corp., 568 F.2d 240 (2d Cir. 1976) (regulation found to be

arbitrary and capricious where agency failed to address alternative,

better-reasoned recommendations on the record).

     This “alternative interpretation”—really the only valid

interpretation of plain and customary language—should come as no

surprise to the Commission because it closely tracks the same practices

and procedures the Commission affords itself when it receives

applications for which it is responsible, supra Part II.A.

     As noted above, this seemed like an obvious reading of the

regulation’s customary language when proposed in the record because

the Commission would never accept a nebulous “written request” that

may or may not contain all the information the Commission specifically

requires to evaluate an application. FER-6. When the Commission is

the agency receiving the request and being asked to act upon it,

“application” means a request that contains all the information required


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for evaluation. Because the Commission only considers applications

that contain all the required information, a written request to an

authority does not qualify as an “application” that demands formal

evaluation until it includes all the information required by the

authority that would qualify the application for review. The

Commission’s own internal system for applications demonstrates with

clarity that the Commission’s “interpretation” of Section 1.6100(c)(2)

amounts to an interpretation that is “so implausible that it could not be

ascribed to a difference in view or the product of agency

expertise.”Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut.

Auto. Ins. Co., 463 U.S. 29, 43-44 (1983).

III. THE COMMISSION’S RADICAL DEPARTURE FROM THE RULES
     PROTECTING CONCEALMENT ELEMENTS AND CONCEALMENT
     CONDITIONS IS ARBITRARY AND CAPRICIOUS

     The Commission arbitrarily and capriciously eliminated

protections for facilities where community efforts to conceal the site

and/or its equipment fall below “look[ing] like something other than a

wireless facility.” Ruling at ¶ 34 (1-ER-21). At the same time, the

Commission placed new limitations on whether and how local

governments enforce concealment conditions. Not only do these


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“clarifications” turn the underlying Rules upside-down, supra Part I.A.,

but they also lack reasoned explanation.

  A.     The FCC’s Narrow Textual Arguments Fail to Consider
         the Important Context that Undermine Its Preferred
         Interpretation and Rely on Contradictory Examples

       The Ruling eliminates codified protections for concealment

elements by eroding what qualifies as concealment. To implement this

strategy, the Ruling collapses the difference between “concealed” and

“stealth-designed” facilities so that far fewer facilities with concealment

elements qualify for protection under Section 1.6100(b)(7)(v). But to do

so, the Commission ignores the context in which it promulgated these

protections and relies on examples that undermine its position and

cannot be explained away.

         1.    Arguments Against the Last-Antecedent Rule in
               this Case Misapply Supreme Court Precedent and
               Ignore Critical Context

       The Commission contends that the limiting clause that defines the

term “stealth-designed” facilities also applies to the term “concealed”

facilities because both terms modify the same noun. FCC at 57.

Whether the last-antecedent rule should be used to interpret statutes or

regulations depends on the context, including the words and sentence


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structure itself and the circumstances around their adoption. See

Facebook, Inc. v. Dugruid, 141 S. Ct. 1163, 1170 (2021). Cases relied

upon by the Commission show that the last-antecedent rule should be

applied, and protections for concealment elements are preserved for

more than just “stealth-designed” facilities.

     First, reliance on the Supreme Court’s decision in Facebook to

dispense with the last-antecedent rule is misplaced. See id. at 1170. The

Supreme Court shelved the last-antecedent rule in Facebook because its

application would restrict activities that promote autodialers and

undermine Congressional intent to limit such activities. See id. The

context in which Congress adopted the statutory text informed whether

the last-antecedent rule helped or harmed the legislative goals.

     Here, the Commission’s refusal to apply the last-antecedent rule

turns Congressional intent upside down. The sentence that the

Commission claims collapses “concealed” and “stealth-designed”

facilities appears in the same paragraph where the Commission

recognizes Congress’ intent to broadly preserve concealment elements,

even when a proposed modification does not change a facility’s physical

dimensions. See 2014 Order at ¶ 200 n.543 (noting that Congress “did


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not intend to exempt [EFRs] from compliance with [concealment]

elements or to undermine such [concealment] conditions”). Whereas the

context in Facebook required the Supreme Court to dispense with the

last-antecedent rule to match legislative limits on autodialers, the

context in this case compels the Commission to apply the last-

antecedent rule to match legislative protections for existing

concealment. See Facebook, 141 S. Ct. at 1170.

     Second, the Commission’s reliance on Facebook also overlooks

important differences in sentence structure and punctuation that affect

meaning. The sentence in Facebook uses a clause set off by commas,

whereas the sentence in the 2014 Order uses heavy punctuation and an

abbreviated signal for a limiting clause. Compare Facebook, 141 S. Ct.

at 1170, with 2014 Order at ¶ 200. Punctuations, like the words

themselves, matter. See Facebook, 141 S. Ct. at 1170 (considering a

limiting clause setoff by commas as modifying the entire list); Jama v.

Immigration and Customs Enf’t, 543 U.S. 335, 344 (2005) (considering a

limiting clause in a list with terminal punctuation as modifying only the

last antecedent). Em dashes operate like parenthesis and the content

within em dashes elaborate on the word or phrase that precedes the


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setoff. See LOCC at 38-40; 2-ER-202-04. Accordingly, the most natural

way to read the phrase “—i.e., facilities designed to look like something

other than a wireless tower or base station—” that is both set off by

heavy punctuation and the abbreviation for a limiting clause is as a

note that elaborates on “stealth-designed”—the last antecedent.

     Finally, no “other indicia of meaning” overcomes the more

natural construction offered by Petitioners. Although the Commission

notes that the 2014 Order refers to “concealment elements of stealth-

designed facilities” (FCC at 57 n.12 (quoting Hall v USDA, 984 F.3d

825, 836 (9th Cir. 2020)), the codified Rules—adopted after the 2014

Order and carrying the force of law—more directly indicate meaning

and refer broadly to “concealment elements of the eligible support

structure”. 47 C.F.R. § 1.6100(b)(7)(v); see id. § 1.6100(b)(4) (defining

“eligible support structure” as “any [existing] tower or base station”).

“[I]t takes more than a little mental energy to process” the FCC’s

interpretation that concealment elements exist only on “stealth-

designed” facilities, especially when Section 1.1600(b)(7)(v)’s plain text

and the Commission’s original legislative-intent analysis cut the other




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way. See Hall, 984 F.3d at 838 (quoting Lockhart v. United States, 136

S. Ct. 958, 963 (2016)) (internal quotations omitted).

     Petitioners described these fundamental inconsistencies between

the 2014 Order and the proposed interpretations offered by industry

intervenors, see 2-ER-292-296, and those ultimately adopted by the

Commission, see Ruling at ¶ 32-40 (1-ER-20-25), but the Commission

failed to consider this relevant factor. See Marsh v. Oregon Nat. Res.

Council, 490 U.S. 360, 376 (1989).

        2.    Absurdities from the FCC’s Own Examples Support
              Invalidation

     Although the Ruling claims to limit concealment elements to only

those facilities designed to look like something other than a wireless

tower or base station, the Commission offers up internally inconsistent

examples without a rational connection to the facts found. See State

Farm, 463 U.S. at 43. According to the Commission, see FCC at 55-56,

equipment “paint[ed] to match the supporting facade” or placed within

“artificial tree branches” qualify as “stealth” facilities but equipment

intentionally placed and conditioned to remain completely hidden from

view behind existing structures do not. Likewise, the Commission finds

that requirements to hide equipment behind a fence do not count as
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“stealth” even though such equipment would be completely obscured

from view and therefore be designed to look like something other than a

wireless facility. See id. at 58.

        How can painted equipment bolted to an exterior wall be stealth

but equipment hidden behind a wall be less-than stealth? If the

Commission’s examples illustrate anything, it is that the driving force

behind the new limits on concealment elements is that the ends justify

the means—a “clear error in judgment.” See State Farm, 463 U.S. at 43.

This Court should not afford these unreasonable interpretations any

deference and should strike them down as arbitrary and capricious.

   B.     The Commission’s About Face on Protection for
          Concealment and Prior Conditions Lacks a Reasoned
          Explanation

        The Commission fails to adequately explain its interpretation that

conditions under Section 1.6100(b)(7)(vi) are subject to the size-related

thresholds for a substantial change. The arguments (FCC at 65-66) that

concealment elements on non-stealth facilities do not merit protection

under Section 1.6100(b)(7)(v) does not square with its prior

interpretation that “Congress did not intend to exempt covered

modifications from compliance with such [concealment] elements and


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conditions . . . .” LOCC at 42 (quoting 2014 Order at ¶ 200 n.543). Yet

the Ruling does exactly what the Commission said Congress did not

intend: “to exempt covered modifications from compliance with such

[concealment] elements and conditions . . . .” See id.

       Although the Commission explains in a footnote that its prior

statement merely describes why it construed the statutory phrase

“physical dimensions” to include concealment, it does not explain why

the Commission removes protections for concealment conditions that it

believes Congress intended the statute to protect. See FCC at 65 n.15.

The best the Commission offers is that its reinterpretation of

concealment elements justifies the reinterpretation that concealment

conditions are subject to the size-based criteria for a substantial change.

This gap in the Commission’s explanation severs any “rational

connection between the facts found and the choice made.” State Farm,

463 U.S. at 43 (quoting Burlington Truck Lines v. United States, 371

U.S. 156, 168 (1962)) (internal quotations omitted).

  C.     The Commission Exaggerates Petitioners’ Arguments to
         Support Textual Claims

       FCC arguments that Petitioners’ construction would make

Sections 1.6100(b)(7)(v) and (vi) redundant depend on two exaggerated
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claims that: (1) Petitioners’ construe anything that helps hide a wireless

facility as a concealment element; and (2) all permit conditions related

to physical dimensions relate to concealment. See FCC at 58-61. Both

FCC overstatements are inaccurate.

     First, the Commission exaggerates Petitioners’ position, claiming

that Petitioners contend that anything that “hides facilities from view”

must be treated as a concealment element. See, e.g., FCC at 59. In fact,

Petitioners stated that “nothing in the [2014 Order] cabins concealment

elements to ‘stealth facilities’ . . . .” LOCC at 67-68. The Rules, the 2014

Order and the record before the Commission all support the proposition

that Section 1.6100(b)(7)(v) protected conscious efforts to conceal

wireless facilities and equipment, whether those efforts resulted in a

fully stealth facility or not. See LOCC at 32-40.

     Second, not all permit conditions with restrictions on physical

dimensions relate to concealment. See 2-ER-309 (suggesting that safety

clearance conditions would limit or restrict placement of an emergency

generator). For example, a condition to maintain compliance with the

zone height imposed on an unpainted, unshrouded and otherwise

concealed tower could be preempted under Section 1.6100(b)(7)(vi) as


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inconsistent with the threshold in Section 1.6100(b)(7)(ii) and not saved

under Section 1.6100(b)(7)(v). In contrast, setback conditions to

maintain light, airflow, clearance between and access to the underlying

properties would be protected under Section 1.6100(b)(7)(vi) because

they reasonably relate to public health and safety even though such

restrictions on physical dimensions were not intended to promote

concealment. See 2-ER-309-15 (providing examples of setbacks for non-

concealment purposes). To be sure, communities do include concealment

elements in permit conditions. But the fact that some conditions of

approval restrict physical expansions and memorialize material

concealment elements does not render Section 1.6100(b)(7)(vi) a dead

letter. See FCC at 60-61.

     Without these exaggerations, the Commission’s justifications that

any other constructions would cause Sections 1.6100(b)(7)(v) and (vi) to

cancel each other out fall apart. As shown by the examples, above

“clarifications” were not necessary to avoid provisions “devoid of




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meaningful effect” as the Commission claims. See FCC at 61 (quoting

Bassiri v. Xerox Corp., 463 F.3d 927, 932 (9th Cir. 2006)).5

    D.     The FCC’s Position on Its Prior Representations Before
           the Fourth Circuit, Like the Ruling Itself, Asks This
           Court to Endorse a Double Standard.

         Responses by the Commission and its industry intervenors to the

FCC counsel’s prior statements that contradict the Ruling neatly

summarize the deficiencies in the Commission’s reinterpretations and

related justifications. See FCC at 62-64; CTIA at 35-36; Brief of

Respondents, Montgomery Cty. FCC, 811 F.3d 121 (4th Cir. 2015) (Nos.

15-1240, 15-1284) (“2015 Brief”).6 Respondents and their allies first

assert that the 2015 Brief does not address the issues before this Court;

then attempt to align contradictory positions between the 2015 Brief

and Ruling; and, finally, contend that whatever the FCC legal counsel




5 The Commission’s reliance on Bassiri is misplaced. Unlike Xerox’s
proposed interpretations that would “obliterate” payroll practices
exceptions under ERISA, 463 F.3d at 932, Petitioners’ construction
would continue to include situations where a restriction on increased
physical dimensions unrelated to concealment would be preempted
under Section 1.6100(b)(7)(vi).
6 In that brief, the Commission’s counsel explained how a hypothetical

modification that extends a previously hidden fake tree over the tree
line would result in a substantial change and restore local discretionary
authority. See 2015 Brief at 40-41.
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said to convince the Fourth Circuit to uphold the 2014 Order does not

matter because staff actions cannot bind the Commission.

     First, the 2015 Brief’s conclusion that extending a fake tree over

an existing tree line restores municipal discretion shows the

Commission cannot defend its reinterpretations for both Sections

1.6100(b)(7)(v) and (vi). Section 6409 and the Rules remove local

discretion unless the proposed modifications cause a substantial

change, such as defeating an existing concealment element or violating

a prior condition on the existing facility.7 If the extension over the tree

line defeated a concealment element as the Commission represented to

the Fourth Circuit in 2015, this directly contradicts the Commission’s

reinterpretation that “careful placement conditions” cannot be

concealment elements. FCC at 56. If the extension violated a prior

condition, the rule as understood by the Commission in 2015 directly

contradicts the reinterpretation that any condition to mitigate visual




7 See, e.g., Montgomery Cty. v. FCC, 811 F.3d 121, 125 (4th Cir. 2015)
(“[Section 6409] forbid[s] localities from exercising their zoning
authority . . . so long as the proposed modification does not
‘substantially change the physical dimensions’ of the facility”); 47 C.F.R.
§ 1.6100(c) (mandating approval for an EFR that does not cause a
substantial change).
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impacts are subordinate to the ability to expand within the size-related

threshold. Id. at 60-61. Although the 2015 Brief did not address which

substantial-change criteria the height increased violated, that such a

modification would amount to a substantial change compels the

conclusion that at least one assault on concealment protections in the

Ruling cannot be squared with how the FCC previously construed

Section 6409. The Commission’s course change from recognizing a

broader scope of local land use authority in 2015 to the Ruling amounts

to both a substantive change in the Rules without following APA

procedures and an arbitrary and capricious failure to explain the basis

for the change.

     The industry intervenors’ attempt to characterize the

Commission’s interpretations in the 2015 Brief as inconsistent with

Section 6409 and therefore immaterial. CTIA at 36. This argument

ignores the fact that protections for concealment elements and

concealment conditions enshrined in the legislative Rules and defended

in the 2015 Brief stem from the Commission’s determination that

Congress intended to preserve existing concealment. See 2014 Order at

¶ 200 n.543. Moreover, after considering the 2015 Brief, the Fourth


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Circuit upheld protections in the Rules for concealment elements and

concealment conditions as reasonable interpretations for ambiguities in

Section 6409. Montgomery Cty., 811 F.3d at 131. Petitioners agree that

an agency’s interpretive authority ultimately turns on fidelity to the

scope allowed by a statute’s ambiguity, but the industry intervenors’

contentions that the tree-line hypothetical in the 2015 Brief conflicted

with Section 6409 lacks merit.

     Second, the 2015 Brief’s tree line example is not “generally

consistent” with the Ruling’s fence example. Contra FCC at 63. Both

the tree line and fence line examples involve essentially the same issue

(i.e., concealment defeated by height increases). But the similarities end

there.

     Whereas the 2015 Brief conceded that extending a fake tree over

the tree line would restore local discretionary authority, the Ruling

suggests that the applicant build a taller fence rather than restore

discretion to the locality. Compare 2015 Brief at 40-41, with Ruling at ¶

44 (1-ER-26-27). But the suggestion to build a taller fence in the Ruling

would be required only if: (1) some “express evidence” contemporaneous

with the original approval shows the fence was intended to conceal the


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equipment on the other side (and not merely for security); and (2) the

obligation to build a taller fence would not ultimately prevent the

height extension. See Ruling at ¶¶ 42-44 (1-ER-25-27). The differences

in the two examples show a clear shift in the Commission’s approach:

the tree line example showed circumstances that preserved local

discretion and the Commission’s new fence line example would not. The

Commission’s claims that nothing has changed are inexplicable.

     Finally, it is difficult to underestimate the impact on this and

future legal proceedings if the Commission’s contention—that what its

counsel says to convince a federal court does not matter—is accepted by

the Court. FCC at 64-65. If left unchecked, the Commission would be

free to bring arguments before courts to support the relief it requests,

while at the same time preserving arguments before a future court that

its prior representations did not represent the Commission’s position.

Those arguments put before the court may have been written by staff

attorneys but were approved by the Commission, no different than a

Ruling written by staff and approved by the Commission. Moreover,

this case is not like SNR Wireless, which involved unreasonable reliance

by auction participants on a reference to a bureau-level adjudication.


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SNR Wireless LicenseCo., LLC v. FCC, 868 F.3d 1021, 1038-39 (D.C.

Cir. 2017); see also LOCC at 65-66. Here, municipalities would

reasonably expect that the Commission’s attorneys—who speak for the

Commission in the judicial review process—would only express

positions endorsed by the Commission.

IV.   REINTERPRETATION OF EQUIPMENT CABINETS IS ARBITRARY AND
      CAPRICIOUS BECAUSE IT LACKS A LIMITING PRINCIPLE

      The Ruling eliminates the limiting principle in both the statute

and the codified rule. Congress established the limiting principle

through the “substantial change” standard and the Commission

implemented this limitation with respect to equipment cabinets

through limits how many (and sometimes how large) new equipment

cabinets could be installed on a per-modification basis. See 47 U.S.C. §

1455(a); 47 C.F.R. § 1.6100 (b)(7)(iii). Any interpretation that would

eliminate the limiting principle contravenes the statute and the codified

rule. See AT&T Corp. v. Iowa Utils. Bd., 525 U.S. 366, 389 (1999)

(invalidating FCC rule that allowed competitive entrants to determine

which network elements were “necessary” for their use).

      Although the Commission claims that its interpretation retains a

limit on equipment cabinets, FCC at 51-52, the Ruling does an end-run
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around the limit by exempting “small” equipment cabinets from the

rule. This reinterpretation should be struck down as arbitrary and

capricious as it ignores important facts about the problem and

abrogates the limiting principle within the rule itself. State Farm, 463

U.S. at 43.

     Rather than provide a definition for equipment cabinet, the

Commission merely asserts what is not an equipment cabinet because

the enclosure around the equipment is for “smaller, distinct devices.”

See Ruling at ¶ 12 (1-ER-11). Equipment cabinets vary in three-

dimensional configuration and weight, and the administrative record

identified substantial impacts that would result from unlimited “small”

equipment cabinets. See 2-ER-297-98. Rather than consider these

impacts and whether the reinterpretation would contravene the

limiting principle established by Congress and implemented by the

codified rule, the Commission shrugs off the issue by characterizing the

concern as involving “hypothetical outlier cases”. See FCC at 52.

     But the Commission’s dismissal misses the point that the

reinterpretation opens a loophole around the limiting principle in the

statute and codified rule. Just as the Supreme Court in Iowa Utils. Bd.


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struck down the Commission’s interpretation that ignored the limiting

principle in the statute, this court should find that that the Commission

arbitrarily and capriciously ignored the limiting principle in Section

6409 and the Rules’ thresholds for new equipment cabinets. See Iowa

Utils. Bd., 525 U.S. at 389.

                               CONCLUSION

     For the reasons stated above, Court should grant the petitions for

review.

Date: March 31, 2023

     Respectfully submitted,

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                    STATEMENT OF RELATED CASES

     Pursuant to Circuit Rule 28-2.6, Counsel state that: (1) the Ruling

has not been subject to review by this Court or any other court; (2) all

petitions for judicial review related to the Ruling have been

consolidated before this Court; and (3) Counsel is not aware of any other

cases raising the same or closely related issues pending before this

Court.



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    CERTIFICATE OF COMPLIANCE PURSUANT TO NINTH
                  CIRCUIT RULE 32-1

         Pursuant to Federal Rule of Appellate Procedure 32(g), the

undersigned certifies that this brief complies with the applicable type-

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as well as the type-style requirements of Federal Rule of Appellate

Procedure 32(a)(6).

         Except for the portions exempted by Federal Rule of Appellate

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application (Microsoft Word for Microsoft 365) used to prepare this

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                     CERTIFICATE OF SERVICE

     I hereby certify that I caused to be filed electronically the

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